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                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON



     ANGELICA MATHENEY, individually and                  Case No. 1:22-cv-01931-AA
     as Personal Representative of the ESTATE OF
     ISAAC MATHENEY; G.M., a minor by and                 STIPULATED PROTECTIVE ORDER
     through her guardian ad litem Angelica
     Matheney, individually; A.M., a minor by and
     through his guardian ad litem Angelica
     Matheney; M.M., a minor by and through his
     guardian ad litem Angelica Matheney,
     individually; VICTORIA TAYLOR-
     MATHENEY, individually; KIASIA
     BAGGENSTOS, individually; BEUSE
     MATHENEY, individually; and LINDA
     DOMINGUEZ, individually,

                      Plaintiffs,

              v.

     STATE OF OREGON; LAKE COUNTY; and
     DOES 1-10, inclusive,

                      Defendants.



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                                  STIPULATED PROTECTIVE ORDER

              One or more of the parties has requested the production of documents or information that

     at least one party considers to be or to contain confidential information, and that are subject to

     protection under Federal Rule of Civil Procedure 26(c). The parties agree that good cause exists

     to protect the confidential nature of the information contained in documents, interrogatory

     responses, responses to requests for admission, or deposition testimony. This action concerns

     allegations of civil rights violations and wrongful death claims against Oregon State Police

     troopers and Lake County Sheriff’s Office deputies in the death of Isaac Matheney. The parties
     expect to exchange documents and information relating to this, including but not limited to Isaac

     Matheney’s medical or mental health records, Plaintiffs’ mental health and financial records,

     records of a grand jury proceeding and personnel records of the involved officers. The parties

     agree that the entry of this Stipulated Protective Order (“Protective Order”) is warranted to

     protect against disclosure of such documents and information.

              Based upon the above stipulation of the parties, and the Court being duly advised,

              IT IS HEREBY ORDERED as follows:

              1.      All documents, testimony, and other materials produced by the parties in this case

     and labeled “Confidential” or “Attorneys’ Eyes Only” shall be used only in this proceeding.

              2.      Use of any information or documents labeled “Confidential” or “Attorneys’ Eyes

     Only” and subject to this Protective Order, including all information derived therefrom, shall be

     restricted solely to the litigation of this case and shall not be used by any party for any business,

     commercial, or competitive purpose (such as future clients), except that Oregon DOJ may use or

     disclose information or documents for legitimate law enforcement purposes and to carry out its

     duties under ORS chapter 180. This Protective Order, however, does not restrict the disclosure or

     use of any information or documents lawfully obtained by the receiving party through means or

     sources outside of this litigation. Should a dispute arise as to any specific information or



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     document, the burden shall be on the party claiming that such information or document was

     lawfully obtained through means and sources outside of this litigation.

            3.      The parties, and third parties subpoenaed by one of the parties, may designate as

     “Confidential” or “Attorneys’ Eyes Only” documents, testimony, written responses, or other

     materials produced in this case if they contain information that the producing party has a good

     faith basis for asserting is confidential under the applicable legal standards. The party shall

     designate each page of the document with a stamp identifying it as “Confidential” or “Attorneys’

     Eyes Only,” if practical to do so.
            4.      If portions of documents or other materials deemed “Confidential” or “Attorneys’

     Eyes Only” or any papers containing or making reference to such materials are filed with the

     Court, they shall be filed under seal and marked as follows or in substantially similar form:

            CONFIDENTIAL

            IN ACCORDANCE WITH A PROTECTIVE ORDER, THE ENCLOSURE(S)
            SHALL BE TREATED AS CONFIDENTIAL AND SHALL NOT BE SHOWN
            TO ANY PERSON OTHER THAN THOSE PERSONS DESIGNATED IN
            PARAGRAPH 7 OF THE PROTECTIVE ORDER.

            or

            ATTORNEYS’ EYES ONLY

            IN ACCORDANCE WITH A PROTECTIVE ORDER, THE ENCLOSURE(S)
            SHALL BE TREATED AS FOR ATTORNEYS’ EYES ONLY AND SHALL
            NOT BE SHOWN TO ANY PERSON OTHER THAN THOSE PERSONS
            DESIGNATED IN PARAGRAPH 8 OF THE PROTECTIVE ORDER.

     If a party is filing a document that it has itself designated as “Confidential” or “Attorneys’ Eyes

     Only,” that party shall reference this Stipulated Protective Order in submitting the documents it

     proposes to maintain under seal. If a non-designating party is filing a document that another

     party has designated as “Confidential” or “Attorneys’ Eyes Only,” then the non-designating

     party shall file the document under seal. If the non-designating party makes a request in writing

     to have the document unsealed and designating party does not file, within ten calendar days, a

     motion that shows good cause to maintain the document under seal, then the Court shall unseal
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     the document. Before seeking to maintain the protection of documents filed with the Court, a

     party must assess whether redaction is a viable alternative to complete nondisclosure.

              5.      Within thirty (30) days after receipt of the final transcript of the deposition of any

     party or witness in this case, a party or the witness may designate as “Confidential” or

     “Attorneys’ Eyes Only” any portion of the transcript that the party or witness contends discloses

     confidential information. If a transcript containing any such material is filed with the Court, it

     shall be filed under seal and marked in the manner described in paragraph 4. Unless otherwise

     agreed, all deposition transcripts shall be treated as “Confidential” until the expiration of the
     thirty-day period.

              6.      “Confidential” or “Attorneys’ Eyes Only” information and documents subject to

     this Protective Order shall not be filed with the Court or included in whole or in part in

     pleadings, motions, briefs, etc., filed in this case, except when any portion(s) of such pleadings,

     motions, briefs, etc. have been filed under seal by counsel and marked in the same manner as

     described in paragraph 4 above. Such sealed portion(s) of pleadings, motions, briefs, documents,

     etc., shall be opened only by the Court or by personnel authorized to do so by the Court.

              7.      Use of any information, documents, or portions of documents marked

     “Confidential,” including all information derived therefrom, shall be restricted solely to the

     following persons, who agree to be bound by the terms of this Protective Order, unless additional

     persons are stipulated by counsel or authorized by the Court:

                       a.     Outside counsel of record for the parties, and the administrative
              staff of outside counsel’s firms.

                     b.      In-house counsel for the parties, and the administrative staff for
              each in-house counsel.

                       c.     Any party to this action who is an individual, and every employee,
              director, officer, or manager of any party to this action who is not an individual,
              but only to the extent necessary to further the interest of the parties in this
              litigation.

                     d.      Independent consultants or expert witnesses (including partners,
              associates and employees of the firm which employs such consultant or expert)

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              retained by a party or its attorneys for purposes of this litigation, but only to the
              extent necessary to further the interest of the parties in this litigation.

                      e.      The Court and its personnel, including, but not limited to,
              stenographic reporters regularly employed by the Court and stenographic
              reporters not regularly employed by the Court who are engaged by the Court or
              the parties during the litigation of this action.

                      f.       The authors and the original recipients of the documents.

                      g.       Any court reporter or videographer reporting a deposition.

                       h.      Employees of copy services, microfilming or database services,
              trial support firms and/or translators who are engaged by the parties during the
              litigation of this action

              8.      Use of any information, documents, or portions of documents marked “Attorneys’

     Eyes Only,” including all information derived therefrom, shall be restricted solely to the persons

     listed in paragraphs 7(a), 7(b), 7(d), 7(e), 7(g) and 7(h), unless additional persons are stipulated

     by counsel or authorized by the Court.

              9.      Prior to being shown any documents produced by another party marked

     “Confidential” or “Attorneys’ Eyes Only,” any person listed under paragraph 7(c) or 7(d) shall

     agree to be bound by the terms of this Order by signing the agreement attached as Exhibit A.

              10.     Whenever information designated as “Confidential” or “Attorneys’ Eyes Only”

     pursuant to this Protective Order is to be discussed by a party or disclosed in a deposition,

     hearing, or pre-trial proceeding, the designating party may exclude from the room any person,

     other than persons designated in paragraphs 7 and 8, as appropriate, for that portion of the

     deposition, hearing or pre-trial proceeding.

              11.     Each party reserves the right to dispute the confidential status claimed by any

     other party or subpoenaed party in accordance with this Protective Order. If a party believes that

     any documents or materials have been inappropriately designated by another party or

     subpoenaed party, that party shall confer with counsel for the designating party. As part of that

     conferral, the designating party must assess whether redaction is a viable alternative to complete

     non-disclosure. If the parties are unable to resolve the matter informally, a party may file an

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     appropriate motion before the Court requesting that the Court determine whether the Protective

     Order covers the document in dispute. Regardless of which party files the motion, the party

     seeking to protect a document from disclosure bears the burden of establishing good cause for

     why the document should not be disclosed. A party who disagrees with another party’s

     designation must nevertheless abide by that designation until the matter is resolved by agreement

     of the parties or by order of the Court.

              12.     The inadvertent failure to designate a document, testimony, or other material as

     “Confidential” or “Attorneys’ Eyes Only” prior to disclosure shall not operate as a waiver of the
     party’s right to later designate the document, testimony, or other material as “Confidential” or

     “Attorneys’ Eyes Only.” The receiving party or its counsel shall not disclose such documents or

     materials if that party or counsel knows or reasonably should know that a claim of confidentiality

     would be made by the producing party. Promptly after receiving notice from the producing party

     of a claim of confidentiality, the receiving party or its counsel shall inform the producing party

     of all pertinent facts relating to the prior disclosure of the newly-designated documents or

     materials, and shall make reasonable efforts to retrieve such documents and materials and to

     prevent further disclosure.

              13.     Designation by either party of information or documents as “Confidential” or

     “Attorneys’ Eyes Only,” or failure to so designate, will not constitute an admission that

     information or documents are or are not confidential or trade secrets. Neither party may

     introduce into evidence in any proceeding between the parties, other than a motion to determine

     whether the Protective Order covers the information or documents in dispute, the fact that the

     other party designated or failed to designate information or documents as “Confidential” or

     “Attorneys’ Eyes Only.”

              14.     Within 60 days after the entry of a final judgment no longer subject to appeal on

     the merits of this case, or the execution of any agreement between the parties to resolve amicably

     and settle this case, the parties and any person authorized by this Protective Order to receive

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     confidential information, produced by the State of Oregon/State Defendants shall return to the

     Oregon DOJ, or destroy, all information and documents subject to this Protective Order.

     Returned materials shall be delivered in sealed envelopes marked “Confidential” to Oregon DOJ

     counsel.

              15.     This Protective Order shall not constitute a waiver of any party’s or non-party’s

     right to oppose any discovery request or object to the admissibility of any document, testimony

     or other information.

              16.     Nothing in this Protective Order shall prejudice any party from seeking
     amendments to expand or restrict the rights of access to and use of confidential information, or

     other modifications, subject to order by the Court.

              17.     The restrictions on disclosure and use of confidential information shall survive the

     conclusion of this action and this Court shall retain jurisdiction of this action after its conclusion

     for the purpose of enforcing the terms of this Protective Order.

              18.     Nothing in this Order shall be construed to change or restrict the obligation of the

     Oregon State Police, Lake County, or the Oregon Department of Justice to respond to Public

     Records Requests pursuant to ORS chapter 192.

              19.     A large volume of documents may be exchanged through discovery in this

     lawsuit, and the parties want to expedite the review and delivery of such documents. It is agreed

     that if either party discloses privileged information and/or protected trial preparation materials,

     the parties understand that there will be no waiver of privilege and/or protection. A party may

     assert the privilege and/or protection at any time in the litigation. After being notified of the

     privilege or protection, the other party (a) must promptly return the specified information, and

     any copies in its possession, custody, or control, (b) must make reasonable efforts to retrieve and

     to prevent disclosure of the information, if the party disclosed it before being notified, and (c)

     may not further use or discloses the information. A party opposing the claim of privilege and/or

     protection must promptly present the information to the court under seal for a determination of

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     the claim. Absent an expressed intent to waive, the presumption will be in favor of privilege

     and/or protection.



     IT IS SO STIPULATED this 14th day of April, 2023.


     s/ John M. Coletti                                        s/ Katie Suver
     JOHN M. COLETTI, #942740                                  KATIE SUVER #975067
     Of Attorneys for Plaintiffs                               Of Attorneys for Defendant State of Oregon




     s/ Thomas Armosino
     THOMAS ARMOSINO, #911954
     Of Attorneys for Defendant Lake County




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              The Court has reviewed the reasons offered in support of entry of this Stipulated

     Protective Order and finds that there is good cause to protect the confidential nature of certain

     information. Accordingly, the Court adopts the above Stipulated Protective Order in this action.



     IT IS SO ORDERED.

                      April 17, 2023
              DATED: ________________



                                                           /s/Ann Aiken
                                                          ______________________________
                                                          HONORABLE ANN AIKEN
                                                          U. S. District Court Judge

     Submitted by: Katie Suver
                   Assistant Attorney General
                   Of Attorneys for Defendant
                   State of Oregon




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                                               EXHIBIT A

           I, ______________________, have been advised by counsel of record for

    _________________________in Matheney v. State of Oregon, et al., 1:22-cv-01931-AA, of the

    protective order governing the delivery, publication, and disclosure of confidential documents

    and information produced in this litigation. I have read a copy of the protective order and agree

    to abide by its terms.



                                                        __________________________________
                                                        Signature


                                                        __________________________________
                                                        Printed Name


                                                        __________________________________
                                                        Date




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